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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

TATIANA (TANYA) SHERMAN                                                                 PLAINTIFF

VERSUS                                                                 1:21cv190-GHD-DAS
                                                            CAUSE NO. _____________________

ITAWAMBA COMMUNITY COLLEGE,
JOE LOWDER, TZER NAN WATERS,
and DR. JAY ALLEN                                                                   DEFENDANTS

                                                                      JURY TRIAL DEMANDED


                                           COMPLAINT


        This is an action to recover damages for: 1) violations of the First Amendment to the United

States Constitution; 2) violation of public policy; 3) violation of Mississippi Whistleblower Statute,

Mississippi Code Annotated § 25-9-173; and 4) malicious interference with employment. Plaintiff

shows the Court the following facts:

                                                  1.

        Plaintiff TATIANA (TANYA) SHERMAN is an adult resident citizen of 1010 Washington

Avenue, Oxford, Mississippi 38655.      Plaintiff has worked for Defendant Itawamba Community

College for a period of seventeen (17) years, the last fifteen (15) years of which has been as a

Workforce Project Manager. Plaintiff’s job description is attached hereto as Exhibit “A.” Her

ordinary job duties do not include making reports of criminal activities or of making reports to the

State Auditor.




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                                                  2.

         Defendant ITAWAMBA COMMUNITY COLLEGE (hereinafter “Defendant ICC”) is a local

governmental entity and not an arm of the State of Mississippi. At all relevant times, it acted under

color of state law. It is liable for the official policy decisions of Defendant Dr. Jay Allen on behalf

of Defendant ICC to discharge Plaintiff from her employment. It is also liable for Defendant Dr. Jay

Allen’s gross negligence and gross indifference to Plaintiff’s rights by failing to supervise his

subordinates so as to assure that they not violate the constitutional rights of employees. It is also

liable for the acts of Defendant Joe Lowder, because Lowder may have been delegated official policy

making authority to make the employment decisions at issue in this case. It may be served with

process by service upon its President, Jay Allen, at 602 West Hill Street, Fulton, Mississippi 38843.

         Defendant JOE LOWDER (hereinafter “Defendant Lowder”), upon information and belief,

is an adult resident citizen of Tennessee. Defendant Lowder may be served with process at 1328

Buckhead Trail,        Mount Juliet, Tennessee 37122-4191, via certified           mail/return receipt

requested/restricted delivery, or wherever he may be found. Defendant Lowder has served both as

Director of Workforce Development at Defendant ICC, and as Dean of the Department of Workforce

Development at Defendant ICC. The acts complained of occurred both in Defendant Lowder’s

capacity as Director of Workforce Development and in his capacity as Dean. Because of the doctrine

of “qualified immunity,” applicable to federal damages claims, Plaintiff sues Defendant Lowder for

damages for state law violations only. Plaintiff sues Defendant Lowder individually for equitable

relief for federal violations.

         Defendant TZER NAN WATERS (hereinafter “Defendant Waters”) is an adult resident

citizen of Lee County, Mississippi.      Defendant Waters be served with process at Itawamba


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Community College, 3200 Adams Farm Road, Belden, Mississippi 38826. Although she had no

qualifications for the position, Defendant Waters was promoted by Defendant Lowder to the position

of Workforce Project Director in October 2018. Because of the doctrine of “qualified immunity,”

applicable to federal damages claims, Defendant Waters is sued for damages for state law violations

only.   Defendant Waters proximately caused Plaintiff’s discharge by engaging in conspiracy with

Defendant Lowder to make false claims of poor performance by Plaintiff in order to cover-up

retaliatory action being made against her because of her complaints of illegal activity.

         Defendant DR. JAY ALLEN (hereinafter “Defendant Allen”) is an adult resident citizen of

Itawamba County, Mississippi. Defendant Allen may be served with process at 602 West Hill Street,

Fulton, Mississippi 38843. Defendant Allen made the official policy decision of Defendant ICC to

terminate Plaintiff from her employment.          Because of the doctrine of “qualified immunity,”

applicable to federal law damages claims, Defendant Allen is sued for equitable relief and damages

under state law. Defendant Allen is sued individually for declaratory, injunctive, and equitable relief

for federal violations.

                                                     3.

         This Court has federal question jurisdiction over Plaintiff’s First Amendment claims under

28 U.S.C. § 1331 and has civil rights jurisdiction under 28 U.S.C. § 1343. This Court has

supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1367(a). This action

is authorized by 42 U.S.C.A. § 1983. Venue is proper in the Northern District of Mississippi, since

the acts complained of occurred in Lee County, Mississippi.




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                                                  4.

        Plaintiff was terminated from her employment by Defendant ICC through the letter of May

24, 2021, attached hereto as Exhibit “B.”

                                                  5.

        The events which led to Plaintiff’s termination occurred after Defendant Lowder was hired

by Defendant ICC in approximately November 2015. Defendant Lowder was hired as the Director

of the Workforce Training Program, and was ultimately promoted to Dean. Plaintiff was a Project

Manager in the Workforce Training Program, and was an immediate subordinate of Defendant

Lowder. The Workforce Training Program is a State program, which is federally generated through

the Mississippi Department of Employment Security, which distributes the funds to various state and

local entities, including the Workforce Training Program operated by Defendant ICC in Lee,

Monroe, Itawamba, Pontotoc, and Chickasaw Counties in Mississippi. Its purpose is to train workers

for employment in business and manufacturing. The Workforce Training Program is governed by

both federal and state regulations, which require documentation and accounting for money spent in

workforce training.

                                                  6.

        Following his obtaining the position of Director of the Workforce Training Program,

Defendant Lowder made it clear that he did not intend to comply with applicable statutes and

regulations. His policy was to obtain maximum money for furniture manufacturers and/or Defendant

ICC, even though this involved committing fraud against taxpayers.




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                                                      7.

         In early 2016, individual employees of a private furniture company, Southern Motion, called

representatives of Defendant ICC to report that Southern Motion was forcing the workers to sign

documents, indicating they were receiving training when they were, in fact, not receiving training.

The workers were upset because Southern Motion was representing that training was being given,

which would qualify workers for higher paying jobs, when, in fact, Southern Motion was giving

them little or no training.

                                                      8.

         Around the same time as the workers’ complaints, Defendant Lowder became employed by

Defendant ICC. Plaintiff immediately reported the problem to Defendant Lowder, and explained

that Defendant ICC was the conduit for Southern Motion receiving money under false pretenses,

since Defendant ICC was causing Southern Motion to provide huge amounts of money for training,

and there was not sufficient documentation from Southern Motion demonstrating that Southern

Motion was giving the training.

                                                      9.

         To attempt to solve the problem by complying with applicable state and federal regulations,

which were designed to ensure that training was occurring, Defendant Lowder determined to prepare

forms so as to falsely indicate that the training was occurring. Specifically, Defendant Lowder

directed the preparation of forms, which had no beginning date and no ending date, making it

difficult to prove that training was not occurring.




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                                                  10.

        Defendant Lowder directed or permitted Southern Motion to list “two trainers – one being

paid $25.00 an hour and one being paid $15.00 per hour,” as “trainers,” and to then obtain

reimbursement from Defendant ICC for the trainer being paid $25.00 per hour. In fact, the “trainers”

were either a production manager or a supervisor who were given the title of “trainer,” so as to allow

Southern Motion to receive reimbursement at $25.00 per hour.             Defendant Lowder’s causing

Southern Motion to receive $25.00 per hour for alleged training by a supervisor, when the trainer

was paid no more than $15.00 per hour, constitutes receiving money under false pretenses by

Southern Motion and constitutes the causing of theft of taxpayer funds by Defendant Lowder, acting

on behalf of Defendant ICC.

                                                  11.

        Through the above-described scheme, Defendant Lowder was able to cause Southern Motion

to receive thousands of dollars for “training,” which it was not providing. Furthermore, after initially

learning about the criminal scheme involving Southern Motion, Plaintiff learned that other furniture

manufacturing companies were engaging in similar criminal conduct with the assistance of

Defendant ICC and Defendant Lowder.

                                                  12.

        Plaintiff repeatedly complained to Defendant Lowder that Defendant was not in compliance

with government regulations and policies, requiring documentation of training, and told Defendant

Lowder that Defendant ICC would be repaying the money that it was causing to be illegally paid to

the furniture companies.




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                                                  13.

        Besides the criminal activities, above-described, which was resulting in receipt of money by

furniture companies under false pretenses, Plaintiff also complained to Defendant Lowder that the

Workforce Training Program was engaging in “double billing” with respect to certain companies not

engaged in furniture manufacturing. As to these companies, Defendant ICC received State money

for training, but also billed these private employers for the same training.     In the case of these

companies, which included mostly small companies, but also included Toyota Motor Manufacturing

Mississippi, Inc., Defendant ICC was cheating the companies because it was billing them for services

for which Defendant ICC was already being paid.           Defendant ICC, acting through Defendant

Lowder, thus engaged in a scheme to receive money from some companies under false pretenses.

                                                  14.

        In response to Plaintiff’s repeated complaints about failing to comply with applicable laws

and regulations regarding the documentation of training and regarding “double billing,” Defendant

Lowder responded, “They will never know.” He informed Plaintiff that she was too much “by the

book,” and that he had already fired one employee for not doing as he was told at Florida State.

                                                  15.

        In October 2018, Defendant Lowder decided to hire a separate Director of Workforce

Training, since he did not want to perform the duties of both Dean and of Director of Workforce

Training. Defendant Lowder caused the unqualified Defendant Waters – who had no experience in

workforce project management – to be promoted to the position of Director of Workforce Training,

making her Plaintiff’s immediate supervisor.




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                                                    16.

         In order to diminish Plaintiff’s credibility, and to cover up Plaintiff’s complaints about illegal

activity on March 8, 2019, Defendant Lowder put Plaintiff on a “performance improvement plan.”

Defendant Waters supervised Plaintiff’s performance improvement plan. Defendant Waters joined

in Defendant Lowder’s fake plan by purporting to supervise Plaintiff when she had no knowledge

of how to do Plaintiff’s job and must have known that the performance improvement plan was a

hoax.

                                                    17.

         Plaintiff had devoted fifteen (15) years of her life to a diligent performance of her duties in

the important work of providing training for workers, and of making proper utilization of federal and

state funds.    The fake “performance improvement plan” distressed Plaintiff. She sought counsel.

At Plaintiff’s request, and acting as an agent of Plaintiff, Plaintiff’s counsel wrote the letter, dated

September 24, 2019, attached hereto as Exhibit “C.” This letter of complaint documents examples

of Defendant Lowder’s illegal activity. The allegations of Exhibit “C” are hereby incorporated into

this Complaint by reference. Exhibit “C” truthfully details the illegal activities in which Defendant

Lowder was engaging, including the fact that Defendant Lowder was being paid as a full-time

employee of Defendant ICC when he was spending most of his time on private business ventures,

such as trying to start a micro brewery – a venture for which he asked Plaintiff to get a $250,000.00

investment from Plaintiff’s husband, a physician.

                                                    18.

         At Plaintiff’s direction, Plaintiff’s counsel copied the Mississippi State Auditor with the letter

of September 24, 2019, attached hereto as Exhibit “C.”             Upon receipt of Plaintiff’s letter, the


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Mississippi State Auditor began an investigation into the activities in the Workforce Development

Program at Defendant ICC. This investigation began shortly after September 24, 2019. Upon

information and belief, the State Auditor’s investigators requested information from Defendants.

                                                   19.

        While the State Auditor’s investigators were continuing their investigation, Defendants

continued with a “performance improvement plan” for Plaintiff. Plaintiff made correct, detailed

responses to the false charges made in the “performance improvement plan” concocted by

Defendants Lowder and Waters.          Plaintiff demonstrated that she was not guilty of any poor

performance and that the “performance improvement plan” was a ruse. Plaintiff’s correct responses

to Defendants regarding their bogus “performance improvement plan” was made during the same

time as the State Auditor investigators were investigating Defendants. Defendants Lowder and

Waters made false claims that Plaintiff was not complying with her performance improvement plan

and disregarded Plaintiff’s detailed responses to the performance improvement plan, which

documented that Plaintiff was not guilty of any deficient performance, and demonstrated that

Defendants’ performance improvement plan was a hoax.

                                                   20.

        The investigation continued for many months. On February 4, 2021, approximately fifteen

(15) investigators from the Mississippi State Auditor’s Office conducted a raid of Defendant ICC.

Defendant ICC employees were not allowed to leave while the State Auditor’s investigators seized

documents and conducted interviews.          Shortly after the raid, Defendant ICC retained private

attorneys, who ordered that all employees of Defendant ICC disclose to Defendant ICC’s attorneys

what information the employees had furnished to the State Auditor’s investigators. One employee,


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Emily Lawrence, told Defendant ICC’s attorneys (Mike Hurst and Mark Halbert) and a Human

Resources representative of Defendant ICC that she had told investigators about the Mississippi

Office of the State Auditor about Defendant ICC’s double-billing, and had told the State Auditor

investigators about being instructed to falsify documentation in an attempt to hide this scheme. After

Lawrence told the attorneys and a Human Resources representative what Lawrence had truthfully

told investigators, Defendant Allen summarily fired Lawrence. Like Plaintiff, Lawrence had also

earlier been put on a bogus “performance improvement plan” when she had refused to issue

reimbursement billing at a rate of $25.00 per hour for training services for which a furniture

company was paying, at most, $15.00 per hour.

                                                     21.

        On or about May 24, 2021, Defendant Allen, as the official policy decision of Defendant

ICC, terminated Plaintiff’s employment through the letter, attached hereto as Exhibit “B.” Plaintiff

was terminated because she had reported the illegal criminal activities.

                                                     22.

        Defendants are liable to Plaintiff as follows:

        Count I:         The termination of Plaintiff was an official policy decision of
                         Defendant ICC, through Defendant Allen, because of the
                         recommendations of Defendant Lowder and/or Defendant Waters. It
                         was an official policy decision of Defendant ICC, made because of
                         Plaintiff’s speech. Plaintiff’s speech reporting illegal activity was not
                         a part of her ordinary job duties. Defendant ICC is liable for damages
                         for violation of Plaintiff’s First Amendment rights.

        Count II:        Defendant ICC violated state law by discharging Plaintiff in violation
                         of the McArn doctrine, which prohibits the discharge of individuals
                         because they report illegal activity or refuse to participate in illegal
                         activity. If this Complaint must be preceded by a “Notice of Claim,”
                         Plaintiff requests that the allegations in this count be stayed for ninety


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                        (90) days after the filing of the Notice of Claim, attached hereto as
                        Exhibit “D.”

        Count III:      Defendant ICC and Defendant Allen discharged Plaintiff in violation
                        of the Mississippi Whistleblower Statute, Mississippi Code
                        Annotated § 25-9-73, et seq. If this Complaint requires compliance
                        with the Mississippi Tort Claims Act notice requirements, Plaintiff
                        requests that this count be stayed for ninety (90) days after filing of
                        the Notice of Claim, attached hereto as Exhibit “D.”

        Count IV:       Individual Defendants maliciously and intentionally interfered with
                        Plaintiff’s employment by causing Defendant ICC to terminate her.
                        They caused her to be fired for the bad faith reason that Plaintiff
                        reported illegal activity.
        Count V:        Individual Defendants violated Plaintiff’s United States Constitution
                        First Amendment and Mississippi Constitution free speech rights by
                        causing her discharge because of exercise of the right to freedom of
                        speech. Because of the “qualified immunity doctrine,” Plaintiff does
                        not sue the individual Defendants for damages for this federal law
                        violation. Plaintiff does, however, request declaratory, injunctive,
                        and equitable relief against the individual Defendants for this federal
                        violation, reinstating her to her employment.

                                                    23.

        The law is unsettled as to whether Plaintiff must make a Mississippi Tort Claims Act claim

prior to filing suit for state law claims against Defendant ICC. Out of an abundance of caution,

Plaintiff files this suit at this time, but requests that the state law claims of violation of state law be

stayed for a period of ninety (90) days in order to allow Defendant ICC to act on the Notice of Claim,

which is attached hereto as Exhibit “D.”

                                                    24.

                                        INDEMNIFICATION

        Any recovery which Plaintiff obtains in this case is due to the active wrongdoing of the

individual Defendants Joe Lowder and Dr. Jay Allen. Defendant ICC has already incurred attorneys’



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fees for the defense of the auditor’s claims made because of the active wrongdoing of Defendants

Lowder and Allen. Furthermore, any judgment recovered in this case will be due to the active

wrongdoing of Defendants Lowder and Allen. Defendant ICC is liable because Defendants Lowder

and Allen were active wrongdoers. Accordingly, this Court should enter an order of indemnification

under which Defendants Lowder and Allen indemnify Defendant ICC for the attorneys’ fees it has

expended in defense of the misappropriation of funds by Defendant Lowder and in defense of

Plaintiff’s meritorious claims.

                                                      25.

        Plaintiff has suffered lost income and will suffer lost income in the future. She has also

suffered mental anxiety and stress as a result of all Defendants’ illegal acts.

                                        REQUEST FOR RELIEF

        Plaintiff requests actual and punitive damages in an amount to be determined by a jury, and

requests injunctive and declaratory relief, directing Defendants to reinstate Plaintiff to her

employment, and requests reasonable attorneys’ fees.

        RESPECTFULLY SUBMITTED, this the 21st day of December, 2021.

                                                   TATIANA (TANYA) SHERMAN, Plaintiff

                                          By:      /s/ JIM WAIDE
                                                   Jim Waide, MS Bar No. 6857
                                                   waide@waidelaw.com
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